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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

  ORANGE ELECTRONIC CO. LTD., §
                                              §
                                              §
               Plaintiff, §
                                              § CIVIL ACTION NO. 2:21-CV-00240-JRG
  V'                           §

  AUTEL INTELLIGENT TECHNOLOGY §
  CORP.,                  LTD.,             ,
                                              S
                                              §
               Defendant. §



                                   VERDICT FORM

       In answering the following questions and completing this Verdict Form, you

 are to follow all the instructions that I have given you in the Court s Final Jury

 Instructions. Your answers to each question must be unanimous. Some of the

 questions contain legal terms that are defined and explained in detail in the Final

 Jury Instructions. You should refer to and consider the Final Jury Instructions as you

 answer the questions in this Verdict Form.




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       As used herein, the following terms have the following meanings:

        Plaintiff or Orange refers to Orange Electronic Co. Ltd.

       “Defendant or “Autel refers to Autel Intelligent Technology Corp., Ltd.

       The “ 064 Patent refers to U.S. Patent No. 8,031,064.

       The “Asserted Claims” refer collectively to Claims 26 and 27 of the 064
       Patent.




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       IT IS VERY IMPORTANT THAT YOU FOLLOW THE
      INSTRUCTIONS PROVIDED IN THIS VERDICT FORM




      READ THEM CAREFULLY AND ENSURE THAT YOUR
             VERDICT COMPLIES WITH THEM




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 INFRINGEMENT - QUESTION No. 1:

 Did Orange, the Plaintiff, prove by a preponderance of the evidence that Autel, the

 Defendant, infringed any of the Asserted Claims of the 064 Patent?




       For each claim below, please answer Yes or “No




       Claim 26:    Yes:                       No:

       Claim 27:    Yes:               No:




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 INVALIDITY - QUESTION No. 2:

 Did Autel, the Defendant, prove by clear and convincing evidence that any of the

 Asserted Claims of the 064 Patent are invalid as obvious?

       For each claim below, please answer Yes or No

       Claim 26: Yes:                               No:
                                                            Y
       Claim 27: Yes:                              No:




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 INELIGIBILITY - QUESTION No. 3:

 Did Autel, the Defendant, prove by clear and convincing evidence that the claim

 elements of the 064 Patent, both individually and as an ordered combination,

 involve only technology that was well-understood, routine, and conventional at the

 time of the alleged invention?




              Yes:                    No:




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 If you answered NO to ALL Asserted Claims in Question No. 1, OR YES
 to ALL Asserted Claims in Question No. 2, OR “YES” to Question No. 3.
 then DO NOT answer Question Nos. 4 or 5.

 Answer Question No. 4 ONLY as to any Asserted Claims that you have found
 to be infringed, NOT invalid, and if you answered Question No, 3 “NO”.



 QUESTION No. 4:

 Did Orange, the Plaintiff, prove by a preponderance of the evidence that Autel, the

 Defendant, willfully infringed any of the Asserted Claims that you found were

 infringed and not invalid?



             Yes:                      No:




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 If you answered NO to ALL Asserted Claims in Question No. 1. OR YES
 to ALL Asserted Claims in Question No. 2, OR “YES” to Question No. 3.
 then DO NOT answer Question Nos. 4 or 5.

 Answer Question No. 5 ONLY as to any Asserted Claims that you have found
 to be infringed, NOT invalid, and if you answered Question No. 3 “NO”.



 QUESTION No. 5:

 What sum of money, if paid now in cash, has Orange, the Plaintiff, proven by a

 preponderance of the evidence would compensate it for its damages for infringement

 from May 15, 2020 through April 30, 2023?

 Answer in United States Dollars and Cents, if any:



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                FINAL PAGE OF THE JURY VERDICT FORM

 You have now reached the end of the Verdict Form and should review it to ensure

 that it accurately reflects your unanimous determinations. The Jury Foreperson

 should then sign and date the Verdict Form in the spaces below. Once this is done,

 notify the Court Security Officer that you have reached a verdict. The Jury

 Foreperson shoul.d keep the Verdict Form and bring it when the jury is brought back

 into the courtroom.



                       J
                           -} I__
       Signed this                  day of June 2023.




       Jury Foreperson




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